         Case 2:21-cv-00104-KGB Document 12 Filed 06/24/22 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

KEYA TURNER                                                                          PLAINTIFF

v.                              Case No. 2:21-cv-00104 KGB

CITY OF WEST MEMPHIS                                                                DEFENDANT

                                            ORDER

       Before the Court is the parties’ joint stipulation of dismissal without prejudice (Dkt. No.

11). The stipulation accords with the terms of Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

For good cause shown, the Court adopts the joint stipulation of dismissal. The action is dismissed

without prejudice, with each party to bear their own costs and fees.

       So ordered this the 24th day of June, 2022.



                                                     Kristine G. Baker
                                                     United States District Judge
